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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   NORIS BABB,

                          Plaintiff,

   v.                                                    Case No. 8:14-cv-1732-T-33TBM

   ROBERT A. MCDONALD, Secretary,
   DEPARTMENT OF VETERANS AFFAIRS

                     Defendant.
   ______________________________________/

            DEFENDANT’S MOTION TO DISMISS AND INCORPORATED
                         MEMORANDUM OF LAW

          COMES NOW Secretary of the Department of Veteran Affairs, (the

   “Defendant”), by and through the undersigned Assistant United States Attorney, and

   hereby respectfully move this Court, pursuant to Rule 12(b)(1) and 12(b)(6) to dismiss

   the First Amended Complaint. In support thereof, the Defendant shows as follows:

                                       INTRODUCTION

          Plaintiff Noris Babb is a pharmacist employed by the V.A. She alleges age and

   gender discrimination (Count I), retaliation (Count II), and a hostile work environment

   based on age, gender, and retaliation (Count III). However, Plaintiff’s Complaint does

   not allege any plausible claims of discrimination or retaliation that occurred within 45

   days of contacting an EEO counselor. Thus, Plaintiff’s First Amended Complaint must

   be dismissed.

          First, while it is possible that the acts alleged by the Plaintiff were motivated by

   age or gender (or anything really), Plaintiff pleads no facts that make any of the discrete
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   acts alleged by the Plaintiff plausibly related to age or gender; thus, Count I must be

   dismissed. Second, Plaintiff’s retaliation count appears to depend on temporal proximity

   between her protected activity and the acts alleged in the Complaint. However, the

   Complaint fails to allege when her protected activity took place or when the managers

   allegedly motivated by retaliatory intent learned about her protected activity. As a result,

   Count II must also be dismissed.

          Finally, as for hostile work environment, Plaintiff does not identify any acts

   related to a hostile work environment that took place within 45 days of contacting an

   EEO counselor, which requires dismissal. In addition, (1) Plaintiff identifies only two

   events that could plausibly be related to gender, which is insufficient for a gender-based

   hostile work environment; (2) Plaintiff identifies only two comments and three events

   over 12 months related to age, which is insufficient for an age-based hostile work

   environment; and (3), Plaintiff identifies, at most, one event that is plausibly related to

   retaliation, which is insufficient for a retaliatory hostile work environment. Therefore,

   Count III should be dismissed.

   Statement of Facts

          Dr. Babb1 is a female over the age of forty who is employed as a GS-12 Clinical

   Pharmacist at the C.W. Bill Young VA Medical Center (“Young VA”). Dkt. 12 at ¶ 6.

   Dr. Babb gave testimony during EEO administrative proceedings on behalf of Dr. Donna

   Trask and Dr. Anita Truitt. Id. at ¶ 5. The Complaint does not identify when she gave

   that testimony. Dr. Babb alleges that the Chief of Pharmacy (Dr. Gary Wilson), an

   1
    Pharmacists with a Doctorate of Pharmacy, or Pharm.D., degree are referred to as
   doctor.


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   Assistant Chief of Pharmacy (Dr. Keri Justice), and other management “became aware of

   her testimony” and “shortly thereafter” began to retaliate against her. Id.

          Dr. Babb identifies 14 events that support her claims. Id. at ¶ 8(a)-(n).

          First, in March 2012, her immediate supervisor (Dr. Howard) asked Dr. Babb,

   “when do you retire?” Dr. Babb asserts that Dr. Howard wanted to put a younger

   pharmacist in her position. Id. at ¶ 8(b). While Dr. Babb is no longer in the same

   assignment, she does not assert that a younger pharmacist is, in fact, in that position.

          Second, since the fall of 2012, Dr. Babb did not receive training in

   anticoagulation, which was “necessary training in order to qualify for the job.” Id. at

   ¶ 8(a). Plaintiff does not allege that anyone else – older or younger, male or female –

   received that training during that time.

          Third, in September 2012, Dr. Babb did not participate in the construction of the

   Service Agreement between the pharmacy service and the geriatric clinic, while a

   younger male and a younger female both had the opportunity to work on service

   agreements that were relevant for their respective assignments. Id. at ¶ 8(c).

          Fourth, at an unknown time, Assistant Chief Dr. Justice asked Dr. Babb about

   seeing the movie “Magic Mike,” which Dr. Justice described as a “middle aged woman

   movie.” Id. at ¶ 8(d). Dr. Babb says she “felt humiliated and embarrassed from Justice’s

   comment about her age.” Id.

          Fifth, on September 27, 2012, Dr. Babb’s first line supervisor did not allow her to

   attend a training that a younger pharmacist was allowed to attend. Id. at ¶ 8(e).




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          Sixth, on November 29, 2012, Dr. Babb was encouraged by her first line

   supervisor to file a grievance with the Union over a dispute concerning her performance

   appraisal. Id. at ¶ 8(f). She does not allege anyone else – older or younger, male or

   female – was treated differently. She does not allege whether she filed a grievance.

          Seventh, in December 2012, Dr. Babb received a verbal reprimand from the Chief

   of Pharmacy when two males in similar circumstances did not. Id. at ¶ 8(g).

          Eighth, in February 2013, management helped a younger female pharmacist

   qualify for a promotion, but did not assist Dr. Babb. Id. at ¶ 8(h).

          Ninth, on February 15, 2013, Chief Dr. Wilson removed Dr. Babb’s advanced

   scope of practice, which meant she could not be promoted. Id. at ¶ 8(i). Dr. Babb does

   not allege that anyone else – older or younger, male or female – was treated differently.

          Tenth, on March 27, 2013, Dr. Babb learned that she would not qualify for a

   promotion to a GS-13 because her Advanced Scope of Practice was taken away. Id. at

   ¶ 8(j). Dr. Babb does not allege that anyone else – older or younger, male or female –

   was treated differently.

          Eleventh, on April 18, 2013, Dr. Babb was selected “as a witness of probable

   knowledge” for an administrative proceeding and was “confused” as to why she had been

   selected. Id. at ¶ 8(k). She alleges she was the sole witness selected. Id.

          Twelfth, on April 23, 2013, two younger female pharmacists were selected for

   anticoagulation assignments ahead of Dr. Babb. Id. at ¶ 8(l). Dr. Babb was at a

   “significant disadvantage because all along she had been denied the necessary training for

   anticoagulation…which would have increased the likelihood of her selection.” Id. Dr.



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   Babb does not allege that the selected pharmacists needed training, or that they received

   training, either before or after their selection.

           Thirteenth, one day later, Dr. Babb’s requested an assignment that she had

   previously rejected 10 months earlier after she “reconsidered and agreed to accept the

   lateral move.” Id. at ¶ 8(m). Dr. Justice denied the request. Id. Dr. Babb does not allege

   that any other pharmacist – older or younger, male or female – received the assignment

   she requested. As a result of not receiving the lateral assignment, she lost her office and

   her duties changed. Id.

           Fourteenth, on April 22, 2013 and June 12, 2013, the Chief Manager of Geriatrics

   wrote Reports of Contact regarding Dr. Babb. Id. at ¶ 8(n). Dr. Babb does not identify

   any consequences from these Reports of Contact.

           On May 6, 2013, Dr. Babb filed an informal EEO complaint. Id. at ¶ 7.

   I.      To the Extent They Purport to Allege Adverse Employment Actions, Any
           Acts of Discrimination or Retaliation Prior to March 22, 2013 Must Be
           Dismissed for Failure to Exhaust Administrative Remedies

           Under Title VII, federal employees are required to initiate contact with an EEO

   counselor within 45 days of an alleged discriminatory action. 29 C.F.R.

   § 1614.105(a)(1). The Eleventh Circuit has long recognized that a federal employee must

   exhaust her administrative remedies as a jurisdictional prerequisite to filing a Title VII

   action. See Crawford v. Babbitt, 186 F.3d 1322, 1326 (11th Cir. 1999); see also 42

   U.S.C. § 2000e-16(c); Shiver v. Chertoff, 549 F.3d 1342, 1344 (11th Cir. 2008)

   (“Generally, when the claimant does not initiate contact within the 45-day charging

   period, the claim is barred for failure to exhaust administrative remedies.”) Accordingly,




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   when a plaintiff fails to exhaust administrative remedies, dismissal is warranted. See

   Bryant v. Rich, 530 F.3d 1368, 1377 (11th Cir. 2008) (affirming district court’s dismissal

   of plaintiffs’ claims because they did not exhaust all of their administrative remedies);

   Pizzini v. Napolitano, No. 10-61498-CIV, 2011 U.S. Dist. LEXIS 68424, *9 (S.D. Fla.

   June 17, 2011) (citing Bonilla v. Alvarez, 194 F.3d 275 (1st Cir. 1999) (finding that

   failure to exhaust administrative remedies prior to filing is grounds for dismissal under

   Rule 12(b)(1))); Luke v. Residential Elevators, Inc., No. 4:10-cv-00524, 2011 U.S. Dist.

   LEXIS 11234, *11-12 (N.D. Fla. Jan. 28, 2011) (holding that failing to exhaust

   administrative remedies prior to filing suit warrants dismissal on jurisdictional grounds).

          The Plaintiff alleges that she filed an informal EEO complaint on May 6, 2013.

   Thus, as a matter of law, the discrimination counts must be dismissed to the extent they

   are based on any alleged discriminatory act that occurred more than 45 days prior to the

   administrative complaint, i.e., prior to March 22, 2013. According to the Plaintiff’s First

   Amended Complaint, the only alleged discriminatory or retaliatory acts that occurred

   after March 22, 2013 are ¶¶ 8(j)-(n). The Court lacks subject matter jurisdiction to

   consider any earlier discrete acts of discrimination to the extent they are based on the

   unexhausted conduct. In other words, the untimely acts (¶¶ 8(a)-(i)) may be general

   evidence of discrimination, but they cannot be used to satisfy the requirement of alleging

   a plausible adverse employment action within the 45 day window.

          As described below, ¶¶ 8(j)-(n) do not allege any adverse employment actions

   supporting a plausible claim of age discrimination, gender discrimination or retaliation,

   requiring the full dismissal of Counts I and II.



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   II.     Plaintiff’s Complaint Fails to Allege Plausible Claims of Discrimination or
           Hostile Work Environment

           Rule 8(b) requires a pleader to set forth “a short, plain statement of the claim

   showing that the pleader is entitled relief.” In Bell Atlantic Corp. v. Twombly, 550 U.S.

   544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009), the Supreme Court adopted a

   pleading standard that requires a plaintiff to state sufficient plausible factual allegations

   to allow a court to draw the reasonable inference that the defendant is liable for the

   alleged misconduct. A “plaintiff’s obligation to provide the grounds of his entitlement to

   relief requires more than labels and conclusions, and a formulaic recitation of the

   elements of a cause of action will not do[.]” Twombly, 550 U.S. at 555 (internal

   quotations omitted). Instead, to survive a motion to dismiss, a plaintiff must plead

   plausible facts supporting the reasonable inference of a viable cause of action. Iqbal, 556

   U.S. at 678. Thus, the “mere possibility of misconduct” is insufficient; a plaintiff must

   “nudge” the allegations “across the line from conceivable to plausible.” Id. at 679, 683

   (quoting Twombly, 550 U.S. at 570).

           Once a court “identif[ies] pleadings that, because they are no more than

   conclusions, are not entitled to the assumption of truth,” the court must next determine

   whether the well-pled facts “‘state a claim to relief that is plausible on its face.’” Id. at

   678, 679 (quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility when the

   plaintiff pleads factual content that allows the court to draw the reasonable inference that

   the defendant is liable for the misconduct alleged.” Id. at 678 (citing Twombly, 550 U.S.

   at 556). “Determining whether a complaint states a plausible claim for relief will…be a

   context-specific task that requires the reviewing court to draw on its judicial experience


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   and common sense.” Id. at 679 (citation omitted). As the United States Supreme Court

   has stated:

             The plausibility standard is not akin to a probability requirement, but it
             asks for more than a sheer possibility that a defendant has acted
             unlawfully. Where a complaint pleads facts that are merely consistent
             with a defendant’s liability, it stops short of the line between possibility
             and plausibility of entitlement to relief.

   Id. at 678 (quotation marks and internal citations omitted).

             In Henderson v. JP Morgan Chase Bank, N.A., 436 Fed. App’x 935 (11th Cir.

   2011), the Eleventh Circuit directly addressed the impact of Twombly and Iqbal in

   pleading discrimination cases. The court held that complaints alleging discrimination

   “must meet the ‘plausibility standard’ of Twombly and Iqbal” and “contain ‘sufficient

   factual matter’ to support a reasonable inference that [the defendant] engaged in racial

   discrimination…” Id. at 937. The court found that the complaint properly was dismissed

   because the Plaintiff “alleged only that she was black, she was pre-qualified for a loan,

   the terms of the loan changed through the application process, and she ultimately rejected

   the loan after her lawyer told her the terms were improper.” Id. at 938. Stated the court:

   “Nothing in her complaint raises a plausible inference that Chase discriminated against

   Henderson based on her race.” Id. at 938.

             As explained below, Plaintiff has not alleged any plausible facts that allow the

   reasonable inference that any of the alleged discriminatory or harassing incidents listed in

   ¶¶ 8(j)-(n) occurred because of the Plaintiff’s age or gender or because of retaliation, nor

   has Plaintiff alleged sufficient facts to support any plausible hostile work environment

   claims.




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          A.      None of the Events within 45 Days of Filing Her EEO Complaint are
                  Plausibly Related to Gender

          Plaintiff does not allege any adverse employment actions plausibly related to her

   gender. While the Plaintiff alleges that the actions described in Paragraph 8(j)-(n)

   involve discrimination based on her gender, see ¶ 8, this is a conclusion, and, as a matter

   of law, insufficient to state a cause of action. See Uppal v. Hospital Corp. of Am., 482 F.

   App’x 394, 396 (11th Cir. 2010) (affirming dismissal of complaint alleging employment

   discrimination claim when plaintiff “alleged no facts to support that gender…played any

   role in the disparate treatment”). None of the allegations of ¶¶ 8(j)-(n) describe any male

   treated differently or offer any indication that gender played a role in those five events.

   As Plaintiff’s claim of gender discrimination is pure speculation, Count I’s gender

   discrimination claim should be dismissed for failure to state a claim.

          B.      None of the Events within 45 days of Filing Her EEO Complaint are
                  Plausibly Related to Age

          Nor does the Plaintiff allege any adverse employment actions plausibly related to

   her age. For Paragraphs 8(j), (k), (m), and (n), this is fairly obvious, as none of the facts

   alleged provide any link to age, so nothing “nudges” the claims into the realm of the

   plausible.

          For Paragraph 8(l), Plaintiff alleges that younger pharmacists were selected for

   anticoagulation positions ahead of her, but the only plausible inference from her

   allegations is that Dr. Babb was simply less qualified for the particular assignment. Dr.

   Babb alleges she had more years of experience than the selected individuals who were

   younger, which is plausible. However, Dr. Babb alleges she did not have the “specific




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   training in anticoagulants,” see Dkt. 12 at ¶ 8(a), and that she was at a “significant

   disadvantage” without the training, id. at ¶ 8(l). She does not allege that the younger

   pharmacists who were selected either received the training Dr. Babb needed in

   anticoagulation or that the younger pharmacists needed any training at all in order to

   fulfill the anticoagulation assignment. The most plausible inference from the allegations

   is that the selected individuals were more qualified for the particular assignment because

   they did not need any training. Thus, the Plaintiff is without a plausible allegation of age

   discrimination, and Count I should be dismissed.

          C.      The Retaliation Count Does Not State a Claim Because Plaintiff Does
                  Not Allege a Plausible Causal Connection

          A prima facie case of retaliation requires that Plaintiff (1) engaged in protected

   activity, (2) suffered an adverse action, and (3) that a causal link between the protected

   activity and the adverse action exists. Standard v. A.B.E.L. Services, Inc., 161 F.3d

   1318, 1328 (11th Cir. 1998). Nothing in ¶¶ 8(j),(k), and (n) indicates a plausible

   connection between Dr. Babb’s protected activity and the actions therein. Paragraphs 8(l)

   and 8(m) contain allegations that Dr. Babb “believes” that her non-selection (¶ 8(l)) and

   the rejection of her request for a lateral move (¶ 8(m)) were retaliation for her EEO

   activity, but these self-serving assertions are not sufficient to allege a plausible causal

   connection. See Iqbal, 556 U.S. at 679.

          Thus, Dr. Babb must rely on the temporal proximity between her protected

   activity and the possible acts of retaliation. In general, cases that “accept mere temporal

   proximity between an employer’s knowledge of protected activity and an adverse

   employment action as sufficient evidence of causality…uniformly hold that the temporal


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   proximity must be very close.” Clark Cnty. Sch. Dist. v. Breeden, 532 U.S. 268, 273

   (2001); see also Thomas v. Cooper Lighting, Inc., 506 F.3d 1361, 1364 (11th Cir. 2007).

   Based on the allegations of the Complaint, the Court has no idea whether the protected

   activity – or management learning of the protected activity – took place years earlier or

   just days before the alleged retaliatory acts began. Accordingly, Plaintiff’s Complaint

   does not allege a plausible cause of action for retaliation. See Henry v. NYC Health &

   Hosp. Corp., No. 13 Civ 6909, 2014 U.S. Dist. LEXIS 32821, *33-34 (S.D.N.Y. Mar. 10,

   2014) (failing to allege when the relevant events occurred required dismissal of

   retaliation claim). Nor is Plaintiff’s allegation that reprisal began “shortly thereafter” her

   EEO testimony sufficient to survive a motion to dismiss. See Winston v. City of N.Y.,

   No. 12-CV-0395, 2013 U.S. Dist. LEXIS 120280, *10 (E.D.N.Y. Aug. 23, 2013)

   (rejecting a retaliation claim based on allegations that reprisal took place “shortly after”

   protected activity because the “conclusory allegation is too vague in nature and non-

   specific as to time…to serve as a basis for her retaliation claim”) (internal citations

   omitted). Thus, Count II should be dismissed with leave to amend.2


   2
     Based on information produced in the related case involving Drs. Trask and Truitt,
   Plaintiff’s EEO activity was three emails sent to an EEO investigator in late April and
   early May 2012. If correct, amending the Complaint will not save Count II, as the time
   between the protected activity and the acts in question (the events in ¶¶ 8(j)-(n), which
   began in late March 2013) is simply too attenuated to survive a motion to dismiss. See
   Causey v. Balog, 162 F.3d 795, 803 (4th Cir. 1998) (“a thirteen month interval between
   the charge and termination is too long to establish causation absent other evidence of
   retaliation); Caskey v. Cnty. of Ontario, 800 F. Supp. 2d 468, 472 (W.D.N.Y. 2011)
   (“nine-month temporal proximity between plaintiff’s protected activity and the allegedly
   unlawful discrimination – standing, as it does, alone – is insufficient as a matter of law, to
   suggest a causal connection for purposes of plaintiff’s retaliation claim”); Herling v. N.Y.
   City Dep’t of Educ., No. 13-cv-5287, 2014 U.S. Dist. LEXIS 56442, *26-28 (E.D.N.Y.
   Apr. 23, 2014) (alleged retaliatory acts that took place nearly one year later did not


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          D.      Plaintiff Has Not Exhausted Administrative Remedies for Her Hostile
                  Work Environment Claims or Alleged Plausible Claims

          To support a hostile work environment based on gender or age, Plaintiff must

   prove: 1) she belonged to a protected class; 2) she subjected to unwelcome harassment;

   3) the harassment was based on gender or age; and 4) the harassment was sufficiently

   severe or pervasive to alter a term, condition, or privilege of employment. See Miller v.

   Kenworth of Dothan, Inc., 277 F.3d 1269, 1275 (11th Cir. 2002); Cobb. v. City of

   Roswell, 533 Fed. Appx. 888, 897 (11th Cir. Aug. 12, 2013). To support a retaliatory

   hostile work environment, Plaintiff must prove similar elements: 1) she engaged in

   protected EEO activity; 2) she was subjected to unwelcome harassment; 3) the

   harassment was based on protected activity; and 4) the harassment was sufficiently severe

   or pervasive to alter a term, condition, or privilege of employment. See Gowski v. Peake,

   682 F.3d 1299, 1311-1312 (11th Cir. 2012). For a viable hostile work environment

   claim, one of the events must fall within the relevant statute of limitations. Shields v.

   Fort James Corp., 305 F.3d 1280, 1281-82 (11th Cir. 2002).

          The “standards for judging hostility are sufficiently demanding to ensure that

   Title VII does not become a general civility code.” Faragher v. City of Boca Raton, 524

   U.S. 775, 788 (1998). Thus, the harassment Amust be both objectively and subjectively


   “plausibly allege facts that give rise to an inference of a causal connection”); Williams v.
   City Univ. of N.Y., No. 10-cv-2127, 2011 U.S. Dist. LEXIS 158422, *15 (E.D.N.Y., Feb.
   10, 2011) (“[e]ven if an allegation of temporal proximity alone could suffice, the nearly
   one year that elapsed between the complaint and the alleged retaliation ‘suggests, by
   itself, no causality at all’”) (citing Clark Cnty., 532 U.S. 268); Krahenbuhl v. Hyde
   County Schs., No. 4:12-cv-170, 2013 U.S. Dist. LEXIS 40147, *9 (E.D.N.C. Mar. 20,
   2013) (granting motion to dismiss based on eight-month gap between protected activity
   and retaliatory act).


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   offensive, one that a reasonable person would find hostile or abusive, and one that the

   victim in fact did perceive to be so.@ Id. at 787. Courts consider the frequency and

   severity of the conduct, whether it is physically threatening or humiliating, and whether it

   unreasonably interferes with the employee=s job performance. See Mendoza v. Borden,

   Inc., 195 F.3d 1238, 1246 (11th Cir.1999) (en banc). In assessing these factors, the

   workplace must be A>hostile or deeply repugnant,=@ not A>merely unpleasant,=@ to be

   actionable. Hopkins v. Baltimore Gas & Elec. Co., 77 F.3d 745, 753 (4th Cir.1996).

                  1)      Gender-based Hostile Work Environment

          One of the events of a gender-based hostile work environment must fall within the

   relevant statute of limitations. See Shields, 305 F.3d at 1281-82. Here, for the reasons

   stated in Section II.A, none of the acts alleged within the 45 day window prior to Dr.

   Babb filing an informal EEO complaint (¶¶ 8(j)-(n)) relate to gender. As a result,

   Plaintiff’s gender-based hostile work environment claim must be dismissed.

          In any event, Plaintiff’s First Amended Complaint alleges only two events that

   have any plausible connection to gender, which is simply not enough to state a claim for

   a work environment that contains severe or pervasive gender-based harassment.

   Specifically, ¶ 8(f) alleges that Plaintiff received a verbal reprimand while two males in

   similar circumstances did not, and ¶ 8(c) alleges that two younger pharmacists, one of

   whom was male, participated in drafting their respective service agreement while

   Plaintiff was not allowed to do the same. That is it, and describing the second event as

   plausibly related to gender is a stretch. Thus, Count III’s gender-based hostile work

   environment should be dismissed.



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                   2)     Age-based Hostile Work Environment

          Again, for a viable hostile work environment claim, one of the events must fall

   within the relevant statute of limitations. See Shields, 305 F.3d at 1281-82. For the

   reasons stated in Section II.B, none of the acts alleged within the 45 day window (¶ 8(j)-

   (n)) is plausibly related to age. As a result, Plaintiff’s age-based hostile work

   environment claim must be dismissed.

          Moreover, the allegations plausibly related to age amount to two comments and

   three events over a one-year period. This is insufficient to allege an age-based hostile

   work environment. Specifically, the allegations – all of which are before the 45-day

   period – that might plausibly relate to age include, at most:

                  ¶ 8(b): first line supervisor Dr. Howard asking Dr. Babb “when do you

                   retire” in March 2012;

                  ¶ 8(d): Associate Chief Dr. Justice asking Dr. Babb if she had seen

                   “Magic Mike,” a movie she described as for middle aged women3;

                  ¶ 8(c): in September 2012, two younger pharmacists participated in the

                   construction of service agreements when Dr. Babb did not;

                  ¶ 8(e): in September 2012, two younger pharmacists attended a training

                   that Dr. Babb did not; and

                  ¶ 8(f): in February 2013, a younger pharmacist was aided in getting a

                   promotion while Dr. Babb was not.


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    While Dr. Babb does not allege when this comment was made, the movie “Magic
   Mike” was released in June 2012. See
   http://www.imdb.com/title/tt1915581/?ref_=nv_sr_1


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   In other words, Dr. Babb’s age-based hostile work environment includes two comments

   and three events over a 12-month period. Thus, Plaintiff has “failed to allege the

   harassment was sufficiently severe or pervasive to alter the terms and conditions of

   employment and create a discriminatorily abusive working environment.” Trupil v.

   Bacardi Corp., No. 3:13-cv-1428, 2014 U.S. Dist. LEXIS 96016, *14-16 (M.D. Fla. June

   6, 2014) (collecting Florida federal district court cases dismissing hostile work

   environment cases on motions to dismiss). For this reason as well, Plaintiff’s age-based

   hostile work environment claim should be dismissed.

                  3)      Retaliatory Hostile Work Environment

          As Plaintiff has not alleged facts demonstrating a causal connection between the

   events within the 45-day window and retaliation, see Section II.C, none of the events

   within the 45-day period are plausibly related to retaliation. Therefore, the retaliatory

   hostile work environment claim must be dismissed. See Shields, 305 F.3d at 1281-82.

          Even assuming there was some causal connection based on temporal proximity,

   the events alleged here do not set forth a plausible case of a retaliatory hostile work

   environment. See, e.g., Ray v. Henderson, 217 F.3d 1234, 1244-45 (9th Cir. 2000)

   (plaintiff exposed to repeated derogatory comments, including supervisors yelling at him,

   calling him Aliar,@ Atroublemaker,@ and Arabble rouser@); Gowski v. Peake, 682 F.3d 1299,

   1313-14 (11th Cir. 2012) (hostile workplace consisted of spreading rumors about

   plaintiffs, damaging their reputations, disciplining them, soliciting reports of contact

   against plaintiffs, instructing other employees to encourage plaintiffs to resign, and

   maligning them in front of their peers and co-workers). The only event that might be



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   related to retaliation is her supervisor encouraging her to go to the Union in connection

   with a dispute over her performance appraisal, but that is also a stretch. Plaintiff’s

   allegations fall far short of alleging a retaliatory hostile work environment, and, as a

   result, Plaintiff’s retaliatory hostile work environment claims should be dismissed.

                                         CONCLUSION

          For the foregoing reasons, Defendant respectfully requests that Plaintiff’s First

   Amended Complaint be dismissed.

   Respectfully submitted, this 23rd day of October, 2014.


                                                  A. LEE BENTLEY, III
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                                CERTIFICATE OF SERVICE

          I hereby certify that on October 23, 2014, I electronically filed the foregoing with

   the Clerk of the Court by using the CM/ECF system, which will send a notice of

   electronic filing to the following:

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                                                /s/ Michael R. Kenneth
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